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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY

  ELI ASHKENAZI, individually and on behalf :        CIVIL ACTION
  of all others similarly situated,         :
                                            :        NO. 3:15-cv-02705-PGS-DEA
                      Plaintiff,            :
                                            :
  v.                                        :
                                            :
  BLOOMINGDALE’S, INC.,                     :
                                            :
                     Defendant.             :


         NOTICE OF MOTION IN SUPPORT OF UNOPPOSED MOTION
   FOR FINAL APPROVAL OF PROPOSED CLASS ACTION SETTLEMENT AND
         PETITION FOR ATTORNEYS’ FEES, COSTS, AND INCENTIVE
                              AWARD

       PLEASE TAKE NOTICE that on December 5, 2018, at 10:30 a.m., Plaintiff Eli

Ashkenazi (“Plaintiff”), by and through his attorneys DeNittis Osefchen Prince, P.C. and Marcus

& Zelman, LLC, shall move to the above Court to enter an order granting Final Approval of the

Proposed Class Action Settlement and Petition for Attorneys’ Fees and Costs and Incentive Award.

       PLEASE TAKE FURTHER NOTICE that Plaintiff shall rely on the declarations and

exhibits annexed thereto and the legal brief submitted herewith in support of his motion for

preliminary approval. A proposed order also is submitted herewith.

       PLEASE TAKE FURTHER NOTICE that Plaintiff respectfully requests oral argument.

       Respectfully submitted this 21st day of November 2018.

                                            s/ Ari H. Marcus
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